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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA
                                                                               CLERK, U.S. DISTRICT COURT
                                     Richmond Division                               RICHMOND, VA



UNITED STATES OF AMERICA

V.                                                                Criminal No.3:99CR144

JERMAINE L. WOOD,

       Petitioner.


                                MEMORANDUM OPINION


       Jermaine L. Wood,a federal inmate proceeding pro se, submitted this successive motion

under 28 U.S.C. § 2255 to vacate, set aside, or correct his sentence("§ 2255 Motion," ECF

No. 109).' The Government has filed its Response. (ECF No. 119.) Wood has filed his Reply.
(ECF No. 122.) For the reasons set forth below,the Court will deny Wood's § 2255 Motion as

barred by 28 U.S.C. § 2255(h)(2).

                               I. PROCEDURAL HISTORY


       A.     Criminal Proceedings

       A grand jury charged Wood with conspiracy to possess with the intent to distribute more

than five grams ofcocaine base(Count One), one count of possession with the intent to

distribute more fiian five grams of cocaine base(Coimt Two),conspiracy to use and carry

firearms during and in relation to a drug trafficking crime as charged in Count One(Count

      'On June 24,2016,the Court received a Motion to Stay firom Jermaine L. Wood. (ECF
No. 102.) On July 25,2016,the United States Court of Appeads for the Fourdi Circuit granted
Wood permission to file a successive § 2255 Motion. (ECF No. 105, at 1.) Attached to the
Fourth Circuit's Order was a Proposed § 2255 Motion that the Court docketed. (ECF No. 107.)
By Memorandum Order entered on July 28,2016,the Court warned Wood that, unless the Court
heard otherwise from Wood within fourteen(14)days ofthe date of entry thereof, the Comt
would treat the Proposed § 2255 Motion as the second or successive § 2255 Motion authorized
by the Fourth Circuit's Order and direct a response by the Government. (ECF No. 106.) On
August 12,2016, Wood filed a new motion to vacate pursuant to 28 U.S.C. § 2255.
Accordingly, the August 12,2016 § 2255 motion is the operative motion before the Court.
("§ 2255 Motion," ECF No. 109.)
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 Three), use and carry of a firearm during and in relation to a drug trafficking crime as charged in

 Count One,resulting in murder in the second degree(Count Four). (Indictment 1-3, ECF

 No. 1.) On July 22,1999, a jury found Wood guilty of Counts One, Three, and Four ofthe

Indictment. (ECF No. 23.)

        The probation office prepared a Presentence Report("PSR")for Wood prior to

 sentencing. Wood's beise offense level for Coxmt One was 43 because the victim was killed

 during the commission ofthe crime. (See PSR Wkst. A,at 1 (citing United States Sentencing

 Guidelines("USSG")USSG § 2Dl.l(d)(l)& § 2Al.l(a)). Wood's base offense level for

 Counts Three and Four was 33. (.See PSR Wkst. A,at 2—3.) Due to grouping provisions.

 Wood's combined adjusted offense level, and ultimately offense level total, was 43. (See PSR

 Wkst. B,at 1.) Wood's criminal history category was IV,resulting in a sentencing guideline

range oflife in prison. (See PSR Wkst. D,at 1.) However, Count One carried a restricted

statutory range of480 months maximum and Count Three similarly carried a maximum of240

months maximum. (Id.)

        On October 20,1999,the Court sentenced Wood to 480 months ofincarceration on

Count One,240 months ofincarceration on Count Three, and life in prison on Count Four. (J. 2,

ECF No. 33.) On August 14,2000,the United States Court of Appeals for the Fourth Circuit

affirmed Wood's conviction and sentence. United States v. Wood,No. 99—4822,2000 WL

1144598, at *1 (4th Cir. Aug. 14,2000).

        B.      Collateral Proceedings

        On December 14,2001, Wood filed his first motion to vacate, set aside, or correct his

sentence pursuant to 28 U.S.C.§ 2255. (ECF No.44(see docket entry above dated Dec. 14,

2001).) By Memorandum Opinion and Order entered on June 21,2002,tiie Court denied
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 Wood's § 2255 motion. See Wood v. United States, No. CRIM.A. 3:99-CR144,2002 WL

 32507838, at *\-6(E.D. Va. June 21,2002). Since that time. Wood has attempted continuously

 to attack his conviction and sentence and has filed at least three unauthorized second or

 successive § 2255 motions. {See ECF Nos. 54,66,71.)

        On July 25,2016,the Fourth Circuit granted Wood authorization to file this successive

 § 2255 motion. {See ECF No. 105, at 1.) Attached to the Fourth Circuit's Order was a Proposed

 § 2255 Motion that the Court docketed. (ECF No. 107.) In response to the Court's July 28,

 2016 Memorandum Order, on August 12,2016, Wood filed the § 2255 Motion presently before

the Court. (ECF No. 109.) Accordingly, by Memorandum Order entered on September 20,

2016,the Court directed that the United States Attomey be served with a copy of Wood's § 2255

 Motion. (ECF No. 111.)

        Subsequently, Wood has inundated the Court with various filings. Before the

 Government filed its response. Wood filed a Motion to Amend and yet another amended § 2255

 motion. (ECF No. 114.) By Memorandum Order entered on November 22,2016,the Court

 directed the Government to address the Motion to Amend in its response. (ECF No. 117.) The

 Government filed its Response on December 21,2016. (ECF No. 119.) The Court received

 Wood's Reply on January 27,2017. (ECF No. 122.) Since that date. Wood had filed multiple

documents containing supplemental authority. (ECF Nos. 124,126,127.)

        By Memorandum Order entered on October 30,2017,the Court directed the Government

to file supplemental briefing about whether Wood has satisfied the requirements of28 U.S.C.

§ 2255(h)(2)for filing his successive § 2255 Motion. (ECF No. 131, at 2—3.) The Government

filed its supplemental brief(ECF No. 136)and Wood filed a response(ECF No. 137). As
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 discussed below, Wood's various claims are procedurally barred by 28 U.S.C. § 2255(h)(2)'s

 prohibition ofsuccessive §2255 motions.

                                         II. ANALYSIS


        A.     Wood's riaims


        In his § 2255 Motion, Wood raises entitlement to relief based upon the following claims,

 which make little sense:^

        Claim One:            "Use of §16(b)'s definition of crime of violence resulted in the
                              'illegal ^ouping' of Counts (1),(3),(4)imder[USSG]3D1.2(h)~
                              [same victims]. Because § 16(b) is 'void for vagueness' after
                              Johnson v. [United States], 135 S. Ct. 2551 (2015), the enhanced
                              mandatory sentences on Counts (3), (4) violate the 5th
                              Amendment's Due Process Right. (§ 2255 Mot. 2, ECF No. 109
                              (second alteration in original).)'^
        Claim Two:            "Second-degree murder [is] not [a] crime of violence under
                              § 16(b). § 16(b) is 'void for vagueness' under Johnson ...." {Id.
                              at 3.)

        Claim Three:          "Sentence imposed on Count (4) based on § 16(b)'s residual
                              clause, 'exceeded statutory maximum' [and] is void after
                              Johnson ...." {Id. at 7.)

        In his Amended Motion to Vacate Judgment Under § 2255, Wood repeats Claims One

through Three above with slightly different phrasing, and adds three new "Grounds"that are new

permutations of\:ds Johnson claims. (Am.§ 2255 Mot. 9,16,17,ECF No. 114-1.) The Court

need not spell out each rambling version of his claim for relief under Johnson because as


         The Court corrects the capitali2ation, spacing, and prmctuation, and omits the emphasis
in quotations from Wood's submissions. The Court employs the pagination assigned by the
CM/ECF docketing system for citations to Wood's submissions.

         "No person shall be ... deprived of life, liberty, or property, without due process of
law...." U.S. Const, amend. V.

        ^ Wood's initial § 2255 motion filed with the Fourth Circuit and docketed here with the
Fourth Circuit's Order contains a shorter version offundamentally the same Johnson claims as
raised in his claims listed above. (ECF No. 105-2, at 1-5.)
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 discussed below,Johnson has no applicability to his convictions and sentence. The Amended

 Motion to Vacate Judgment under § 2255 also attempts to add three other non-Johnson

"Grounds" that were not included in the Fourth Circuit's grant of permission to file a successive

 § 2255 motion based upon Johnson.^ These additional claims are successive, not properly before
 the Court, and the Court will not consider them here. As discussed below, because Wood's

 § 2255 Motion is both successive and his Johnson claims are meritless, the Motion to Amend

(ECF No. 114)will be DENIED as futile.

        B.      Wood Fails to Satisfy the Standard for Successive S 2255 Motions

        The Fourth Circuit granted Wood pre-filing authorization to file a successive motion in

 this Comt pursuant to 28 U.S.C. § 2255(h)(2). Under § 2255(h)(2), Wood must demonstrate that

 his claim is based upon "a new rule ofconstitutional law, made retroactive to cases on collateral

 review by the Supreme Court, that was previously unavailable." 28 U.S.C. § 2255(h)(2). The

 Fourth Circuit's determination that Wood satisfies § 2255(h)"is 'tentative in the following

 sense: the district court must dismiss the motion that [the Fourth Circuit has] allowed the

 applicant to file, without reaching the merits ofthe motion, ifthe court finds that the movant has

 not satisfied die requirements for the filing ofsuch a motion.'" McLeod v. Peguese,337 F.

 App'x 316, 324(4th Cir. 2009)(quoting Bennett v. United States, 119 F.3d 468,470(7th Cir.

 1997)). Thus, it is necessary to examine Wood's claims and dismiss them,if the Court finds that

they are barred under § 2255(h). See United States v. MacDonald,641 F.3d 596,604(4th Cir.

2011)(citing United States v. Winestock, 340 F.3d 200,205 (4th Cir. 2003)).




        ^ In "Ground (5)," Wood argues that his sentence is the result ofineffective assistance of
counsel. (Am.§ 2255 Mot. 14.) In "Ground (6)" Wood argues that an amendment to the
guidelines should be applied to Coimt One. (Id. at 15.) In "Ground (7)," Wood challenges the
imposition ofrestitution. (Id. at 16.)
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       To satisfy 28 U.S.C § 2255(h)(2), Wood must demonstrate: (1)the rule announced in

Johnson v. United States, 135 S. Ct. 2551 (2015), constitutes a new rule of constitutional law that

was previously unavailable; and,(2)the Supreme Court has made the rule announced in Johnson

retroactive to cases on collateral review. As explained below. Wood fails to satisfy these

requirements because the Supreme Court has neither extended the rule in Johnson to his

convictions and sentences for use of a firearm in conjunction with drug trafficking crimes, nor

made it retroactively applicable to such cases on collateral review.

       In Johnson,the Supreme Court held "that imposing an increased sentence vmder the

residual clause ofthe Armed Career Criniinal Act[("ACCA")] violates the Constitution's

guarantee ofdue process." 135 S. Ct. at 2563.^ In Welch v. United States, 136 S. Ct. 1257
(2016),the Supreme Court held that'Uohnson announced a substantive rule oflaw that has

retroactive effect in cases on collateral review." Id. at 1268. Here, however. Wood was not

subject to a sentence enhancement under the ACCA. Rather, Wood was convicted ofconspiracy

to possess with intent to distribute five or more grams of cocaine base, in violation of21 U.S.C.

§ 846; conspiracy to use and carry a firearm during and in relation to a drug trafficking crime, in

violation of 18 U.S.C. § 924(o); and, using a firearm to commit murder in furtherance of a drug




       ^ The ACCA provides that
       [i]n the case of a person who violates section 922(g) of this title and has
       three previous convictions by any court referred to in section 922(g)(1) of
       this title for a violent felony or a serious drug offense, or both, committed
       on occasions different from one another, such person shall be fined under
       this title and imprisoned not less than fifteen years....

18 U.S.C. § 924(e)(1). Under the residual clause,the term violent felony had been "defined to
include any felony that 'involves conduct that presents a serious potential risk of physical injury
to another.'" Johnson, 135 S. Ct. at 2555(quoting 18 U.S.C. § 924(e)(2)(B)).
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 trafficking crime,in violation of 18 U.S.C. §§ 924(c)(1)(A), 924(j), and 2.^ In his rambling
 arguments. Wood seeks to extend Johnson to invalidate his conviction under 18 U.S.C.

 § 924(c)(1)(A), § 924(j), and § 924(o), arguing HiaX Johnson likewise invalidated subsection (c)'s

 residual clause and definition of"crime ofviolence." See 18 U.S.C. § 924(c)(3)(B). Section

 924(c)(1)(A) states;

                 Except to the extent that a greater minimum sentence is otherwise
        provided by this subsection or by any other provision of law, any person who,
        during and in relation to any crime of violence or drug trafficking crime
        (including a crime of violence or drug trafficking crime that provides for an
        enhanced punishment ifcommitted by the use of a deadly or dangerous weapon or
        device) for which the person may be prosecuted in a court of the United States,
        uses or carries a firearm, or who,in furtherance of any crime, possesses a firearm,
        shall, in addition to the punishment provided for such crime of violence or drug
        trafficking crime - -
           (i) be sentenced to a term ofimprisonment ofnot less than 5 years;
            (ii) if the firearm is brandished, be sentenced to a term of not less than 7
            years; and
            (iii) ifthe firearm is discharged, be sentenced to a term ofimprisonment of
            not less than 10 years.

 18 U.S.C. § 924(c)(1)(A)(emphasis added).^ The Supreme Court has not yet decided whether
Johnson invalidates the "residual clause" of§ 924(c)(3)(B), which defines a "crime of violence"

 to include any felony "that by its nature, involves a substantial risk that physical force against the

 person or property ofanother may be used in the course of committing the offense." 18 U.S.C.

§ 924(c)(3)(B). Thus, Wood's attempt to utilize Johnson as a means around the procedural

 roadblock of§ 2255(h)(2)fails. Contrary to Wood's assertion, Johnson's holding has no

      'The Indictment lists 18 U.S.C. § 2 at the end ofthe alleged conduct; however,the
 textual portion of Count Four does not include the word "aiding and abetting." (Indictment 3.)
 The caption ofthe Indictment also does not include 18 U.S.C. § 2 as a charged offense.
 However, whether or not Wood was charged with aiding and abetting or as a principal has no
 bearing on the resolution ofthe instant § 2255 Motion.

         ® Section 924(j)involves an act taken "in the course ofsubsection (c)." See 28 U.S.C.
 § 924(j). Section 924(o)involves "conspir[ing] to commit an offense under subsection (c)." See
 28 U.S.C. § 924(o). Presiomably, Wood challenges these convictions based on each subsection's
 reference to § 924(c).
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applicability to Wood's case, as his convictions and sentences under §§ 924(c)(1)(A), 924(j), and

924(o) were predicated on drug trafficking crimes, not a crime of violence. See United States v.

Wilkerson, No. 3:09CR235,2017 WL 3122658,at *2(E.D. Va. July 21,2017)(citations

omitted). Accordingly, because Johnson fails to extend to Wood's convictions and sentences for

use of a firearm in conjimction with drug trafficking crimes, he fails to satisfy the requirements

of§ 2255(h)(2). Thus, Wood's § 2255 Motion is an improper, successive motion rmder

§ 2255(h)(2).

       C.       Wood's Johnson Claims Lack Merit

       Nevertheless, even if Wood's § 2255 Motion was not successive, his Johnson claims lack

merit. The Johnson decision simply has no applicability to Wood's case, as his conviction under

18 U.S.C. § 924(c)(1)(A),§ 924(j), and § 924(o) were predicated on conspiring to use and carry

a firearm and committing murder during a drug trafficking crime, not a crime of violence. See

United States v. Hare,820 F.3d 93,105-06(4th Cir.), cert, denied, 137 S. Ct 460(2016). Thus,

contrary to Wood's arguments,the definition of"crime of violence" has no bearing on his

convictions, and Johnson is inapplicable. Wood's various Johnson claims will also be

DISMISSED as meritless.^



       ^ Wood also references "§ 16(b)" in Claims One through Three. Wood argues that
"§ 16(b)'s definition of crime of violence" is void for vagueness imder Johnson and that this
provision somehow caused the probation officer to group like coimts improperly in his
sentencing guidelines calculation(§ 2255 Mot. 2),that second-degree mxirder is not a"crime of
violence"(id. at 3), and that his sentence imposed on Count Four was based on § 16(b)'s residual
clause and is void (id. at 7). The Court assumes Wood refers to 18 U.S.C. § 16(b). The Court
fails to discern, and Wood fails to explain, how 18 U.S.C. § 16(b) has any bearing on Wood's
conviction or sentence as that statute is the residual clause's definition of crime of violence for
the Immigration and Nationality Act. See Sessions v. Dimaya, 138 S. Ct. 1204,1210-11 (2018).
 Moreover,to the extent he challenges a sentencing guideline calculation. Wood may not
challenge an alleged misapplication ofthe sentencing guidelines in § 2255. See United States v.
Newbold,791 F.3d 455,459(4th Cir. 2015)(noting that a career offender designation under the
guidelines is not cognizable on collateral review); United States v. Pregent, 190 F.3d 279,283—

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                                      III. CONCLUSION

        For the foregoing reasons, Wood's § 2255 Motion(ECF No. 107,109) will be DENIED

 as barred by 28 U.S.C. § 2255(h)(2) and also meritless. The Motion to Amend(ECF No. 114)

 will be DENIED. Wood's Motion for Appointment of Counsel(ECF No. 128)will be DENIED

 because his claims are barred from review here and appointment ofcounsel would not promote

 the interests ofjustice. The action will be DISMISSED. A certificate of appealability will be

 DENIED.


        An appropriate Order shall issue.




                                                            M.Ha
                                                            United Ktdle^District Judge
 Date: NOV Q 1 2018
 Richmond, Virginia




 84(4th Cir. 1999)(explaining that "[bjarring extraordinary circumstances" an error in the
 calculation ofIhe sentencing guidelines is not cognizable in a § 2255 motion)
